          Case 4:05-cr-00333-BAE Document 63 Filed 05/08/06 Page 1 of 1




                 UNITED STATES DISTRICT COURT

                 SOUTHERN DISTRICT OF GEORGIA

                          SAVANNAH DIVISIO N



UNITED STATES OF AMERICA, )

             Plaintiff,

v.    )       Case                       No. CR405-333

ELIZABETH MONAS,                     )

             Defendant.

                                  ORDER

      After a careful de novo review of the record in this case, the Court

concurs with the Magistrate Judge's Report and Recommendation, to which

no objections have been filed . Accordingly, the Report and

Recommendation of the Magistrate Judge is adopted as the opinion of th e

Court .

      SO ORDERED this _ day of , 2006 .
                                               L/                    -
                                     B . AVANT "EDENFIE
                                     UNITED STATES STRICT JUDGE
                                     SOUTHERN DIST ICT OF GEORGIA
